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  Message


  From:                zsk [zsk@google.com]
  Sent:               4/25/2022 11:11:00 PM
  To:                 Julia Weinberg [Weinberg @google.com]
  cc:                  Andrew Tucker [andrewtucker@google.com]; Ashley Burke [ashleyklair@google.com]; Atoshi Shorey
                       [atoshi@google.com]; Daniel Tangeman [tangemand@google.com]; Eric Lo [ericllo@google.com]; Guille Vidal
                       [gvidal@google.com]; Jagan Cuddapah [jcuddapah@google.com]; Jonathan Hager [jfhager@google.com]; Julia
                       Reznikov [jreznikov@ google.com]; Kerry Frum [kerryfrum@google.com]; Kirk Morris [kirkmorrisjr@google.com]; Lilly
                       Pelton [lillianpelton@google.com]; Mike Schwimmer [mschwimmer@google.com]; Racquel Brown
                       [racqbrown@google.com]; Scott Sheffer [ssheffer@google.com]; Shamieka Benjamin [shamieka@google.com];
                       Shane Rahmani   [shanerahmani@google.com]; Simon Bolger [simonbo@google.com]; Tiffany Fung
                       [tfung@google.com]; Tom Gorke [gorke@google.com]; Victor Hugo Ramos [vhramos@google.com]
  Subject:             Re: Sony’s Crunchyroll & Google GAM   deal closed (part of xPA deal)



  Super cool, congrats again to the deal team!

  On Mon, Apr 25, 2022 at 2:32 PM Julia Weinberg <weinberg@google.com> wrote:
   Kirk, it’s super exciting to see the deal come to life in these press releases. Congrats to you and the whole xfn
   team that made this happen.

   Julia



   On Mon, Apr 25, 2022 at 2:17 PM Kirk Morris <kirkmorrisjr@google.com> wrote:
        Hi everyone

        I want to share the exciting news with the Sell-Side team and XFNs that today we announced our partnership
        with Crunchyroll in a press release. You can find the press release below:
        1.      PR Newswire

        2.      Google Cloud Press Corner

        Thank you to Atoshi, Shamieka, and the Partnerships Solutions team for leading this press release.

        Congratulations again to everyone involved!

        Kirk

        On Thu, Mar 24, 2022 at 5:05 AM Mike Schwimmer <mschwimmer@google.com> wrote:
         Congratulations Kirk, Andrew, Atoshi and team! I'm excited for our team to help activate this deal. Thanks
         for the close collaboration with the gTech team to figure out the right technical levers across PAs (GAM +
         Google TV) to help add value for Sony.


         On Wed, Mar 23, 2022 at 2:34 PM zsk <zsk@google.com> wrote:
             Congrats, this is a big win that took a lot of x-functional alignment.           Nice work, and can't wait to see the
             results.

             On Wed, Mar 23, 2022 at 11:03 AM Jonathan Hager <jfhager@google.com> wrote:
              Congrats Kirk and team, and great work getting this deal signed!




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        Jonathan Hager i] Technical Deals Consultant - gTech l jfhager@google.com                                                               |}   (0) 303-/729-
        3250 / (m)

       I stand in solidarity with those seeking Justice and Racial Equity.

       The Deals and Protocols Team is hiring! (contact me for details!)

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       email and delete the email.




       On Wed, Mar 23, 2022 at 12:32 PM Simon Bolger <simonbo@google.com> wrote:
        Congrats team! Very complex deal, with great impact.                                   Well done on the broad x-functional collaboration
        to make this happen.
        Simon.

        On Wed, Mar 23, 2022 at 7:55 AM Kirk Morris <kirkmorrisjr@google.com> wrote:
          Confidential - Internal Only

          Hi everyone

          Andrew and | want to share a Google Ad Manager specific update on the outcome of the deal
          with Sony’s Crunchyroll.

          Impact: Sony’s Crunchyroll signed an AM360 deal valued at nearly        which is estimated to
          grow impression volume 189% through access to new inventory across Desktop, mWeb,
          Apps, and OTT. The deal is a part of a xPA collaboration involving Google Ad Manager,
          Cloud, Platforms & Ecosystems, and Advertising, and paved the way for Sony US to become a
          Priority Partner. The AM360 deal includes:

                            core ad serving discounts
                            hosted video ad serving discounts
                              non-hosted video ad serving discounts
                      3 months dedicated glech POC
                      Non-standard terms: risk mitigation and migration incentives
                      1 year term with auto renewal


          Background
          Sony’s Funimation division acquired Crunchyroll from_AT&T for $1.2B in August 2021 to create
          the world’s largest anime content creator and DTC service. The Funimation and Crunchyroll
          businesses are merging into a unified global product under the Crunchyroll brand. Global
          demand for anime content grew 118% over the past two years, making it one of the fastest-
          growing content genres by that metric during the pandemic.

          Approach
          With Funimation merging into Crunchyroll, we negotiated a deal that supported their technical
          needs through dedicated gTech support, mitigated risk and incentivized growth through non-
          standard terms, and expanded Google’s inventory access to deliver mutual value and support
          other PAs.




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        Learnings
        We documented our learnings here which include how we collaborate with XFNs to streamline
        approvals and scale knowledge across the sell-side through go/sell-side-deal-playbook and an
        April T1/CPT meeting.

        Thank you to the individuals below and for everyone’s support of this strategic deal:

        Executive Deal Sponsor: Shane Rahmani
        Commercial Deal Team: Tom Gorke (Lead), Jagan Cuddapah, Shane Rahmani
        Americas Partnerships Solutions Leads: Atoshi Shorey, Marcus Ellington
        Web Manager: Andrew Tucker
        Platforms: Kirk Morris
        Finance: Lily Pelton, Ashley Burke
        Legal: Daniel Tangeman
        gTech:   Mike Schwimmer,        Jonathan    Hager, Guille Vidal, Kerry Frum,       Racquel    Brown, Tiffany
        Fung, Victor Hugo Ramos

        Kirk and Andrew



        On Thu, Mar 17, 2022 at 12:27 AM        Tom Gorke <gorke@google.com> wrote:
         Confidential - Internal Only

         il;dr: Following several months of xPA collaboration and external engagement and negotiation, we recently
         executed a           multi-year global strategic partnership with Sony’s Crunchyroll division, relationship
         includes significant Cloud commitment and opportunity for future Sony growth, as well as separate deep
         collaboration with Platforms & Ecosystems and new, incremental commitments across Ads and Google Ad
         Manager.




         We are happy to share that we have finalized a multi-year strategic partnership with Sony’s Crunchyroll division,
         the largest anime content provider in the world and an important and growing player in the Direct-to-Consumer
         (DTC) entertainment ecosystem. The deal is valued at            across Cloud, Platforms & Ecosystems, Ads and
         Google Ad Manager.

         Background
         Sony’s Funimation division acquired Crunchyroll from AT&T for $1.2B in August 2021 to create the world’s
         largest anime content creator and DTC service. The Funimation and Crunchyroll businesses are merging into a
         unified global product under the Crunchyroll brand. Global demand for anime content grew 118% over the past
         two years, making it one of the fastest-growing content genres by that metric during the pandemic.

         Approach
         The partnership resulted from building a thorough understanding of Crunchyroll’s business objectives that came
         via a C-suite listening session, deep dive workshops with each PA, and ongoing conversations with their
         executive team.

         Partnership Overview
         This xPA partnership will support Crunchyroll’s transformation as they rebrand and relaunch as the single largest
         anime streaming provider in the world. This partnership includes:




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         e        Cloud:        5 year committed spend that will position GCP as the data cloud for Crunchyroll.
         Additionally, at the request of Sony Global Group CIO, GCP rates have been extended beyond this deal and
         firmly positions GCP as a strong cloud provider for Sony overall.
         °        Platforms & Ecosystems: Deepened partnership to support the combination of the Crunchyroll and
         Funimation DTC apps on the Play platform on a global basis, along with securing partner ad inventory on Google
         TV with an estimated value of multi-million dollars over the projected lifetime of the deal.
         e        Advertising: One year           incremental Ads DVIP (Display and Video Incentive Program) upfront for
         2022; on top of           of current annual Search spend. There is upside if DVIP and search are extended over the
         life of the 5 year cloud deal.
         °        Google Ad Manager: Estimated at            annually, the Google Ad Manager 360 deal with Crunchyroll
         will unify their inventory on platform, enabling Google access to new inventory, and will grow impression
         volume.

         We are currently working with our PR and Marketing teams xPA to bring this partnership to life through a press
         release and marketing executions. We ask that you please keep this partnership confidential until we share
         publicly via PR and marketing.

         Upon closing of the partnership, Colin Decker, CEO Crunchyroll expressed how excited he and his executive
         team are about this holistic and elevated partnership across Google and they look forward to growing the
         relationship.

         Sony US is now a Priority Partner
         Not only is the partnership significant for Crunchyroll, but it also creates strong momentum for the broader
         Google-Sony relationship. Sony US was nominated as an “Incubation Partner” for the Americas Partnerships
         Solutions team and upon assessment, identifying future opportunities, and as a result of this deal, Sony US was
         approved as a Priority Partner. This deal showcases the power of bringing the One Google approach to our
         partners to help transform their business and build allyship.

         While there are many people to thank, we’d like to highlight the core group, including business development,
         legal and finance leads across the teams who were part of this process.

         Executive Deal Sponsor: Shane Rahmani
         Commercial Deal Team: Tom Gorke (Lead), Jagan Cuddapah, Shane Rahmani
         Americas Partnerships Solutions Leads: Atoshi Shorey, Marcus Ellington
         Nomination of Sony US as Incubation Partner: Rory O’Callaghan, GCAS
         Cloud: David Ooley, Santosh Eram, Munish Agarwal, Jagan Cuddapah, Jeff Katzen, Vidula Shinde, Jim Daly
         Google Ad Manager: Andrew Tucker, Kirk Morris, Lily Pelton, Ashley Burke, Daniel Tangeman
         Ads: Liz Correa, Rory O’Callaghan, Ryan Jody, Amy Yury Stickler, Alex Angeledes
         Platforms & Ecosystems: Tom Gorke, Juanjo Duran, Jenna Mok, John Langan, Tamar Fruchtman, Divya
         Chandra, Wes Yu
         PR: Angela He
         Legal Deal Lead: Tamar Fruchtman
         Competition Counsel: Rob Mahini

         Thank you and congratulations to everyone who worked so hard to make this deal happen.

         Atoshi, Jagan, Shane and Tom




        Kirk Morris


        Program and Strategy Lead, Web Platforms




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              Simon Bolger
              Director, Americas Online Partnerships,
              Google
              a        ee ees




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         Director, Global Partnerships
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        Thanks.




       Kirk Morris


       Program and Strategy Lead, Web Platforms



   Julia Weinberg |                             >ntientiva|                weinberg@google.com|               (215) 620-2376

   Blue Dot Ally




  Zachary Kuney
  Director, Global Partnerships
  Go     gle - Blue Dot Listener &
         We stand for racial justice and commit
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